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Safety Shot: Warrants For Aggressive Growth
Investors
Jan. 09, 2024 7:23 AM ET Safety Shot, Inc. (SHOT} Stock, SHOTW Stock 3 Likes

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Summary
•       Safety Shot has undervalued warrants that expire in 2026, providing an opportunity for
        aggressive investors.

•       Safety Shot is a company focused on its blood alcohol detox drink that claims to speed up
        recovery from hangovers.

•       The company expects growth through growing sales of its detox drink, expansion into
        different distribution channels, and licensing agreements.




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Thesis
Safety Shot (NASDAQ:SHOT) is a newly-listed company, with warrants (NASDAQ:SHOTW) that
expire on July 26, 2026. These are currently undervalued and provide an opportunity for
aggressive investors to pursue capital gains.

About Safety Shot
Formerly known as Jupiter Wellness Inc., the company purchased the blood alcohol detox drink
Safety Shot in August 2023. In conjunction with this acquisition, it changed its name to Safety
Shot and changed its Nasdaq trading symbol to SHOT.




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The firm has multiple products and owns numerous patents, but obviously, the Safety Shot drink
is its main focus. According to the company, it is, "an over-the-counter drink that can lower blood
alcohol content to allow recovery from the effects of alcohol at a rate faster than would occur
normally."

In a December 11, 2023 press release, the company wrote," Safety Shot is no ordinary drink; it's
the revolution in recovery that will redefine nightlife experience and transform mornings." Some of
us might just say it's a quicker way to recover from a hangover. The firm claims its drink provides
relief in half an hour, while competitors' products require hours to work.

What is a warrant?
Consider this type of security a derivative, and in this case, an equity derivative because the
warrant prices relate to the prices of Safety Shot shares.

In some senses, a warrant resembles a stock option. First, it gives an owner the right but not the
obligation to buy Safety Shot shares at a specific price in the future. Second, warrants, like
options, can be calls or puts. In the SHOTW case, we are looking at the call side. And, they trade
like shares.

Investors or speculators can buy warrants for less than the cost of the stock, providing the
purchaser with leverage. If the stock price hits a predetermined target, or exercise price, before
the expiry date, the warrant can be exchanged for a share of stock, at the warrant price. Shares of
SHOTW also can be sold on the open market

As with call options, this leverage can provide rich rewards-or leave the investor with nothing (a
complete loss) if the company's shares fail to hit the exercise price before expiry.

SHOTW warrants
In connection with its Initial Public Offering, Safety Shot issued 12,049792 warrants, in two
tranches (as listed in its prospectus):

1. "Company Warrants'': 11 ,607,142 units convertible into an equal number of shares. They have
   an exercise price of $1 .40 and are exercisable until July 26, 2026.

2. "Underwriter's Warrants": 442,650 units with an exercise price of $3.50, until July 26, 2026.




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Earlier, it had issued warrants that would expire on January 10, 2025, and there have been
others. This table, from the third-quarter 2023 10-Q, shows there were just over 22 million
warrants outstanding at the end of September:

                                                                                             umber of            E crcl e
                                                                                            \ arnmts              Price

 Balance at December 31 , 2021                                                                 1 .69 12                     3.24
 Warrant i sued in connection , ith Con crtiblc ot                                              1,460,000                   .093
 Warranis i ued in connection with Convcniblc ote                                                 800,000                   .093
 Balance at D ccmbcr 31, 2022                                                                  15,958,126                   2.9 1
 WarrantS is511ed in Public Offering                                                            9,260,554                   .093
 Warrant i ucd for ervice                                                                          400,000                  1.23
 Warrants exercised in connection with Convertible note                                        (1,200,000                   0.93
 Wammts e orciscd in connection with PIPE                                                      (2. 79,0 4)                  0,93
 8alanc1.1 at cptember 30 2023                                                                 22,039.596                   2.37

 Warranis Excrei. able at eptembcr 30, 2022                                                    22.,039,.596                 2.37

SHOTW warrants table (10-Q third quarter 2023)

This article will focus on the Company warrants, with an exercise price of $1 .40. At the close on
January 5, 2024, the warrants traded at $1.27, slightly lower than the strike price:


     10       50                                   lY      5Y         10Y      MAX                   Advanced




                                                                                                                              0



                                 .II
                                        S o 2023           Ocl 2023             t.lu 2023               C ~023



SHOTW warrant price chart (SeekingAlpha)


At the moment, then, investors who bought units at the issue price of $1 .40 are in the red. A
higher price will depend on profitable financials in the next several quarters and how the market
reacts to those results.

Prospects for Safety Shot


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According to the company's literature, the future is bright. In its December 11 press release, it
reported a successful West Coast Launch on December 7th. It sold out on the first day of
availability on its direct-to-consumer website.

The release added that it expected to have two million cans in stock and ready to ship by the
middle of this month. Assuming that stock also sells out, Safety Shot's sales would increase by
$10 million. That would roughly triple its revenue from its TIM of $4.9 million.

Its initial introduction events include a Luke Bryan concert and the Coachella Valley Music and
Arts Festival in April. Plans also include developing multiple distribution channels beyond its
online channel. They include physical retail stores, as well as venues such as sporting events,
other concerts, bars, and restaurants.

It reported in the 10-Q that it expected to launch the drink through Amazon.com (AMZN) and big
box stores this year. It also generates revenue through licensing agreements for other products.

In addition, the company has other products with small revenue streams, and is building a
pipeline of products that may have some impact on its fortunes in the medium and long terms.

Financials
So far, Safety Shot the company has rung up costs, but its main product has just launched, so the
income statement information below should be taken as preliminary. The data below were taken
from the 03 financials:




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  Safety Shot lncome Statement                                    For the nine months ending Sept. 30
                                                                        2023                 2022
  Revenue
  Sales                                                               3,971,130                        5,291,136
  Cost of Sales                                                       3,162,352                        4,255,374
  Gross profit                                                         808,778                         1,035,762

  Operating expense
  General and adm inistrative e>                                      7,677,796                        5,610,585
  Impairment of Prom issory No                                    -                                    1,000,000
                                                                      7,Gn,796                         6,610,585
  Other income / (expense)
  Interest income                                                        57,115                            1,424
  Interest expense                                                      221,010                        1,124,371
  Other income/ (expense)                                             1,236,720                            4,813
  Gain/ (loss) on deconsolidatic                                        409,549                    -
  Unrecognized gain/ (loss) on                                          726,884                    -
  Total other income (expense)                                        2,537,048                        1,118,134

  Net (loss)                                     $                    9,406,066 $                      6,692,957

  Net (loss) per share:
  Basic                                          $                         $0.34 $                        $0.30

SHOTW Income statement (QJ. 2023 10-Q)

As of last September 30 th , Safety Shot had an accumulated deficit of $60 million, up from $50.6
million at the same time in 2022. In the same section of the 10-Q, it reported $4.4 million of cash
and $3.9 million of working capital. It also expects significant costs for its expansion and
development plans. As a result, "These conditions have raised doubt about the Company's ability
to continue as a going concern as noted by our auditors, M&K CPAS, PLLC."

Its debt-to-equity ratio for the most recent quarter is a whopping 39.86 (which helps explain the
short interest). Still, that warning may not stand, since it is just now launching its most important
product.

Therefore, 01 and 02 results for this year will be bellwethers; if it can sell all or most of its two
million can inventory, it should become a viable company and a going concern.


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Risks
Obviously, price risk will be the main concern, for reasons already discussed. But a few other
issues should be noted:

•       There is a significant amount of short interest, which stood at 14.79% on January 5th , 2024.

•       Investors who successfully convert their warrants into shares may face devaluation through
        dilution. In the 10-Q, the company reported 39,817,783 shares outstanding. We also know
        there are 12,049,792 Company and Underwriter warrants. Assuming all those warrants
        convert into shares, we're looking at a dilution of roughly 30%.

•       SHOTW has a low capitalization, $152.11 million, and is lightly traded, so it may be difficult to
        get the price you want when you sell.

Valuation
Using the Black-Scholes calculator at MyStockOptions, we arrive at a valuation of $2.83 per
warrant:




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                                      Black-Scholes Calculator
   To calculate a basic Black-Scholes value for your stock options,
   fill in the fields below. The data and results will not be saved and
   do not feed the tools on this website. Remember that the actual
   monetary value of vested stock options is the difference
   between the market price and your exercise price.

   To learn more about the the Black-Scholes method of valuing
   employee stock options, see our Valuation & ExRensing section.


                Black-Scholes Value:                                                                              2.826

                Stock Price
                (in USD)                                                                      G                               (ex. 31.55)

                Exercise Price
                (in USD)                                                                      G                               (ex. 22.75)


                Time to maturity
                (In years)                                                                    ~ (ex. 3.5)
                Annual risk-free interest rate                                                I     3 .9% I                   (ex. 5%)

                Annualized volatility                                                         1 133% 1                        (ex. 50%)

                                                                                          I          Calculate
                                                                                                                                   I
   This calculator does not consider dividends paid on your stock and would
   thus not be accurate for companies that pay them.                                                                     ''


       Like this calculator? Don't miss out on
       the other tools and content from                                                                                  Sign Up Now
       myStockOptions.com!

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                                                         Agreement
Black-Scholes is used to calculate lfie fheoretical value of stock options and warrants. The stock
price of $3.40 is from mid-day Friday, January 5th ; the exercise price comes from the prospectus;
the time to maturity refers to July 26, 2026; the annual risk-free interest rate comes from 10-year
treasury bills on January 5th , and the annualized volatility rate comes from Safety Shot's options
chain ($3.00 strike for August 16, 2024, the furthest out).

This calculation it gives us a starting point, suggesting that the warrants are undervalued by $1.46
or 106% ($2.83- $1.37).

Conclusion
Safety Shot, a newly-emerged corporation with a product that claims to speed up recovery from
hangovers, has had encouraging early responses. We should find out if can live up to its promise
after the first and second quarters of this year.

If it can, the warrants now available at a discount price (according to the Black-Scholes formula),
could become worth much more. Aggressive investors may wish to take the plunge now, but risk-
averse growth investors will want to see some quarterly results first.

This article was written by

           Robert F. Abbott
           681 Followers

Robert F. Abbott has been investing his family's accounts since 1995, and in 2010 added options, mainly covered calls and
collars with long stocks. He is a freelance writer, and his projects include a website that provides information for

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